Case 19-00730-5-JNC        Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08        Page 1 of
                                            11
 SO ORDERED.

 SIGNED this 8 day of July, 2020.




                                          _____________________________________________
                                          Joseph N. Callaway
                                          United States Bankruptcy Judge
___________________________________________________________________



                        UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                              GREENVILLE DIVISION

In re:
                                                  Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1, LLC
d/b/a WASHINGTON COUNTY HOSPITAL                  Chapter 11

                       Debtor.



    AMENDED CONSENT ORDER AND STIPULATION BY AND BETWEEN THE
   TRUSTEE AND AFFINITY HEALTH PARTNERS, LLC RESOLVING, IN PART,
  MOTION SEEKING (I) AN ORDER CONFIRMING THAT (A) CERTAIN STIMULUS
     FUNDS WERE USED IN ACCORDANCE WITH APPLICABLE TERMS AND
  CONDITIONS AND (B) TRUSTEE MAY TRANSFER ANY REMAINING STIMULUS
 FUNDS TO PURCHASERS; AND (II) AN ORDER ELIMINATING ANY LIABILITY OF
      TRUSTEE AND DEBTORS’ ESTATES FOR USE OF STIMULUS FUNDS

         This matter is before the Court on that certain MOTION SEEKING (I) AN ORDER

CONFIRMING THAT (A) CERTAIN STIMULUS FUNDS WERE USED IN ACCORDANCE

WITH APPLICABLE TERMS AND CONDITIONS AND (B) TRUSTEE MAY TRANSFER

ANY REMAINING STIMULUS FUNDS TO PURCHASERS; AND (II) AN ORDER

ELIMINATING ANY LIABILITY OF TRUSTEE AND DEBTORS’ ESTATES FOR USE OF

STIMULUS FUNDS [ECF No. 547] (the “CARES Act Fund Motion”) and the stipulation

contained herein. Thomas W. Waldrep, Jr., the duly appointed trustee (the “Trustee”) for the




                                             1
Case 19-00730-5-JNC        Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08                Page 2 of
                                            11



bankruptcy estate of CAH Acquisition Company #1, LLC d/b/a Washington County Hospital (the

“Washington Debtor”), and Affinity Health Partners, LLC (“Affinity”) hereby agree and stipulate

as follows:

       A.      The Trustee is administering the bankruptcy estate of the Washington Debtor.

       B.      On February 7, 2020, this Court entered the “Order (A) Approving Sale Free and

Clear of All Liens, Claims, Interests, and Encumbrances, (B) Authorizing Assumption and

Assignment of Certain Executory Contracts and Unexpired Leases, and (C) Granting Related

Relief” [ECF No. 686] (the “Sale Order”). Pursuant to the Sale Order, this Court authorized the

Trustee to sell to Affinity and Affinity to acquire substantially all of the assets of the Washington

Debtor, including assignment of certain assumed executory contracts.

       C.      The sale closed on April 20, 2020, and since that date Affinity has been operating

the 25-bed hospital known as the Washington County Hospital (the “Washington Hospital”) in

Plymouth, North Carolina.

       D.      The Trustee has received certain stimulus Provider Relief Fund payments through

United States Department of Health and Human Services (“DHHS”) under the Coronavirus Aid,

Relief, and Economic Security Act, P.L. 116-136 [HR 748], 134 Stat. 281 (signed into law Mar.

27, 2020) (the “CARES Act”), which is administered by DHHS.

       E.      Specifically, the Trustee has received $3,612,661.01 cash in CARES Act fund

payments on account of the Washington Hospital (the “Washington Fund Payments”).

       F.      The Trustee received the Washington Fund Payments because the Trustee holds the

tax identification number (the “TIN”) that, under the CARES Act, is the mechanism by which a

recipient of CARES Act funds receives such funds and can attest to the use of such funds.




                                                 2
Case 19-00730-5-JNC       Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08             Page 3 of
                                           11



       G.     The TIN and the bank account into which the Washington Fund Payments were

received constitute property of the Washington Debtor’s estate and using Washington Fund

Payments is subject to 11 U.S.C. § 363.

       H.     On May 15, 2020, the Trustee filed the CARES Act Fund Motion.

       I.     Pursuant to the CARES Act Fund Motion, the Trustee contends that $903,778.27

of the Washington Fund Payments (the “Used Funds”) represent lost “revenue due to the

coronavirus between February 1, 2020 and the Washington Closing Date.” Motion at ¶ 29. The

Trustee further contends that he should be permitted to transfer to Affinity $2,708,882.74 of the

Washington Fund Payments (the “Unused Funds”). Affinity joined in and consented to the

CARES Act Motion.

       J.     On June 5, 2020, the Trustee filed the Trustee’s Motion for Approval of Consent

Order and Stipulation By and Between The Trustee and Affinity Health Partners, LLC Resolving,

in Part, Motion Seeking (I) an Order Confirming That (A) Certain Stimulus Funds Were Used in

Accordance with Applicable Terms and Conditions and (B) Trustee May Transfer Any Remaining

Stimulus Funds to Purchasers; and (II) an Order Eliminating any Liability of Trustee and Debtors’

Estates For Use of Stimulus Funds (the “Original Consent Motion”) [ECF No. 845] pursuant to

which the Trustee sought this Court’s authority to transfer to Affinity the Unused Funds so that

such funds could be used by the Washington Hospital to address the COVID-19 crisis and establish

a procedure for resolving disputes regarding the Used Funds.

       K.     On June 22, 2020, DHHS filed a response to the Original Consent Motion,

contending that transferring funds from the Washington Debtor’s estate to Affinity, as purchaser,

would purportedly “violate DHHS’s express nationwide policy prohibiting the transfer of

payments received from the Provider Relief Fund (‘PRF’) to a third party.” [ECF No. 611 at 2].




                                               3
Case 19-00730-5-JNC         Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08                 Page 4 of
                                             11



       L.       At the Trustee’s request, the Court continued the hearing on the Original Consent

Motion and did not rule on DHHS’s response.

       M.       As set forth in Exhibit “A” hereto, the parties hereto desire to settle and resolve all

matters relating to the CARES Act Fund Motion and amend the Original Consent Motion so as to

permit the Unused Funds to be used to address COVID-19 matters at the Washington Hospital in

a manner that does not violate the CARES Act or the details for the requirements for receipt,

acceptance and usage of payments from PRF as has been published by DHHS on its website at

www.hhs.gov/coronavirus/cares-act-provider-relief-fund/index.html (the “Washington Hospital

Resolution”).

       N.       The CARES Act, with regards to the PRF, states “[t]hat ‘eligible health care

providers’ means public entities, Medicare or Medicaid enrolled suppliers and providers, and such

for-profit entities and not for profit entities not otherwise described in this proviso as the Secretary

may specify, within the United States (including territories), that provide diagnoses, testing, or

care for individuals with possible or actual cases of COVID-19.” Consistent with the CARES

Act’s definition of an eligible health care provider, Washington Hospital continues to be a

Medicare and Medicaid enrolled supplier and provider.

       O.       The CARES Act also states that payments shall be made in consideration of the

most efficient payment systems practicable to provide emergency payment. The terms and

conditions concerning acceptance of PRF funds discusses use of such funds by subrecipients and

subgrantees. The Trustee and Affinity intend for Washington Hospital to serve as a subrecipient

and/or subgrantee that continues to provide diagnoses, testing, or care for individuals with possible

or actual cases of COVID-19 to the same patient population, consistent with the applicable terms

and conditions existing at the time of the CARES Act Fund Motion.




                                                   4
Case 19-00730-5-JNC     Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08               Page 5 of
                                         11



      In light of the foregoing, the Trustee and Affinity, whose representatives have signed

below, do stipulate and agree as follows, and based upon this stipulation IT IS ORDERED,

ADJUDGED, AND DECREED that:

      1.     Pursuant to 11 U.S.C. §§ 541(a), 363(b), and 105(a) and Federal Rule of

             Bankruptcy Procedure 9019(a), the Trustee is authorized to agree to and implement

             the settlement and use of the TIN and Washington Fund Payments, as set forth on

             Exhibit “A” hereto.

      2.     Granting the relief requested is not barred by any provision of the CARES Act or

             any regulation adopted by DHHS concerning the PRF, but furthers the purpose of

             the CARES Act and the PRF.

      3.     For purposes of use of Unused Funds, Washington Hospital shall be a subrecipient

             and/or subgrantee within the meaning of the terms and conditions governing using

             of such Unused Funds.

      4.     Any and all objections to the Amended Consent Motion are overruled.

      5.     For the Used Funds, only the Trustee can attest to their use under the CARES Act,

             applicable regulations, and sub-regulatory guidance; and Affinity and the

             Washington Hospital shall have no liability for any attestation made by the Trustee,

             and no party shall be entitled to setoff or recoup monies owed to the Washington

             Hospital on account of or relating to the Used Funds.

      6.     Subject to the terms and conditions of the Washington Hospital Resolution, for any

             Unused Funds, only the Trustee can attest to their use under the CARES Act,

             applicable regulations, and sub-regulatory guidance.




                                              5
Case 19-00730-5-JNC    Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08               Page 6 of
                                        11



      7.    All parties in interest with notice and opportunity to object, including DHHS, shall

            be bound by and shall comply with the provisions of this Consent Order.

      8.    Subject to the terms and conditions of Exhibit “A” hereto, nothing herein shall

            affect the jurisdiction or regulatory authority of DHHS in respect of the use,

            monitoring, and enforcement of the rights of DHHS under and in connection with

            the CARES Act.




                                             6
Case 19-00730-5-JNC      Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08      Page 7 of
                                          11



SO STIPULATED AND AGREED to today, July 2, 2020.

 AFFINITY HEALTH PARTNERS, LLC                   TRUSTEE OF CAH         ACQUISITION
                                                 COMPANY 12, LLC

 /s/ Rebecca Lindahl                             /s/ Thomas W. Waldrep, Jr.
 Rebecca Lindahl                                 Thomas W. Waldrep, Jr.
 NC Bar No. 35378                                NC Bar No. 11135
 Katten Muchin Rosenman LLP                      Waldrep LLP
 401 South Tryon St, Ste 2600                    101 S. Stratford Road, Suite 210
 Charlotte, NC 28202-1935                        Winston-Salem, NC 27104
 Telephone: 704-344-3141                         Telephone: 336-717-1440
 Fax: 704-344-2277                               Fax: 336-717-1340
 Email: rebecca.lindahl@katten.com               Email: notice@waldrepllp.com
 Counsel for Affinity Health Partners, LLC       Chapter 11 Trustee of CAH Acquisition
                                                 Company 12, LLC

                                   END OF DOCUMENT




                                             7
Case 19-00730-5-JNC   Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08   Page 8 of
                                       11




         AMENDED CONSENT
              ORDER
            EXHIBIT “A’




                                       8
Case 19-00730-5-JNC       Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08              Page 9 of
                                           11



                WASHINGTON HOSPITAL RESOLUTION AGREEMENT

       Thomas W. Waldrep, Jr., Chapter 11 trustee (the “Trustee”) for CAH Acquisition

Company 12, LLC d/b/a Washington Community Hospital (the “Washington Debtor”) and

Affinity Health Partners, LLC (“Affinity”) agree and settle in full and complete resolution of the

“TRUSTEE’S AMENDED MOTION PURSUANT TO 11 U.S.C. §§ 363 AND 105(a) AND

FEDERAL RULE OF BANKRUPTCY PROCEDURE 9019(a) FOR APPROVAL OF

CONSENT ORDER AND STIPULATION BY AND BETWEEN THE TRUSTEE AND

AFFINITY HEALTH PARTNERS, LLC RESOLVING MOTION SEEKING (I) AN ORDER

CONFIRMING THAT (A) CERTAIN STIMULUS FUNDS WERE USED IN ACCORDANCE

WITH APPLICABLE TERMS AND CONDITIONS AND (B) TRUSTEE MAY TRANSFER

ANY REMAINING STIMULUS FUNDS TO PURCHASERS; AND (II) AN ORDER

ELIMINATING ANY LIABILITY OF TRUSTEE AND DEBTORS’ ESTATES FOR USE OF

STIMULUS FUNDS” (the “Amended Consent Motion”). All terms not otherwise defined herein

have the same meanings as defined in the Amended Consent Motion.

       1.      Within two (2) business days after entry of a final, non-appealable order approving

the Amended Consent Motion (the “Agreement Effective Date”), the Trustee shall transfer, to a

segregated account maintained at and under the control of the Washington Hospital, all of the

Unused Funds; provided, however, that notwithstanding entry of an order approving the Amended

Consent Motion, prior to the expiration of any time for appealing such order, Affinity shall have

the sole and absolute discretion to terminate this Agreement, and shall have no liability to the

Trustee, the Washington Debtor’s estate, or any creditor of the Washington Debtor’ estate for any

matter arising from or relating to this Agreement.

       2.      Upon the Agreement Effective Date:




                                                1
Case 19-00730-5-JNC        Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08               Page 10 of
                                            11



        a. The Trustee shall direct Washington Hospital to use the Unused Funds solely for

             allowed purposes under the CARES Act;

        b. Washington Hospital shall provide all documentation and assistance so that the Trustee

             could attest to the use of the Unused Funds by Washington Hospital; and

        c. In the event of any audit, challenge or dispute to the Trustee’s attestation or use of the

             Unused Funds (“Attestation Challenge”), the Washington Hospital shall be directed

             to respond to such Attestation Challenge. The Trustee shall cooperate with Washington

             Hospital in responding to such Attestation Challenge; provided, however, that the

             Trustee shall not object to or oppose any resolution to such Attestation Challenge

             proposed by the Washington Hospital.

        3.      Washington Hospital shall obtain a bond in an amount equal to the amount of the

 Unused Funds plus $100,000, which shall be available to the Trustee and the Washington Debtor

 solely to (a) fund any return of Unused Funds that the Washington Hospital does not use, is ordered

 to return to DHHS, or agrees to return to DHHS; and (b) fund the direct costs, including reasonable

 attorney’s fees, if any, incurred by the Trustee in connection with an Attestation Challenge that is

 in excess of 2% of the Unused Funds.

        4.      Washington Hospital waives and releases any claim to the Used Funds.

 Washington Hospital shall provide the Trustee any information reasonably requested and

 reasonable cooperation that the Trustee requires in order to attest for and report to DHHS regarding

 the use of the Unused Funds; provided, however, for avoidance of doubt neither Washington

 Hospital nor Affinity shall be obligated to support the Trustee’s attestation in respect of the Used

 Funds. The Trustee shall name Affinity and Washington Hospital as beneficiaries under the




                                                  2
Case 19-00730-5-JNC       Doc 892 Filed 07/08/20 Entered 07/08/20 16:25:08              Page 11 of
                                           11



 trustee’s bond to the extent of any liability either incur in connection with the Trustee’s use of

 Used Funds.

        5.      In exchange for the Trustee’s agreement to administer the subgrant and the

 Trustee’s attestation and to compensate the estate for professional fees related to the Trustee’s

 attestation efforts and any future audit thereof, Washington Hospital shall, within 30 days of the

 transfer of the Unused Funds in accordance with paragraph 1 hereof, transfer to the Washington

 Debtor’s estate cash equal to two percent (2%) of the Unused Funds.

        6.      To the extent the Trustee receives any future CARES Act funds on account of the

 Washington Hospital, such funds will be transferred to the Washington Hospital as Unused Funds

 under the same procedures as set forth herein, and Washington Hospital shall transfer to the

 Washington Debtor’s estate cash equal to the percentage of such funds provided for in paragraph

 5 hereof. The parties will cooperate with one another if DHHS requires an application process for

 such funds.




                                                 3
